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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

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UNITED STATES OF AMERICA
Protective Order re: 3500 and
-V.- : Attorneys’ Eyes Only Material
SOHAIL KHAN, : 09 Cr. 1067 GSR)
Defendant.
ee xX

IT IS HEREBY agreed, by and between the United States of America, Damian
Williams, United States Attorney, by Sarah Lai, Assistant United States Attorney, and the
defendant Sohail Khan, by and through his attorney Valerie Gotlib, Esq., that, with respect to all
materials produced under 18 U.S.C. § 3500 (“3500 Material”) and other material previously
designated for Attorney’s Eyes Only (“AEO Material”):

(1) Defense counsel must destroy or return to the Government all 3500 Material
and AEO Material (including all copies), at the conclusion of the trial of this matter or when any
appeal has become final;

(2) Defense counsel may disclose 3500 Material (and any copies) to defendant
Sohail Khan only in the presence of counsel, any paralegal or staff employed by the defense, and
any expert witness the defense intends to use at trial (collectively, “Designated Persons”);

(3) To the extent any Designated Person (or any other party not provided for
herein) obtains any 3500 Material that is the subject of this Order, such 3500 Material shall not
be further disclosed in any form, including but not limited to orally disclosing such information
and posting such information on the Internet;

(4) Defendant Sohail Khan and his respective counsel of record shall provide a

 

 

 

 

 

 

 
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copy of this Order to any Designated Persons to whom the 3500 Material is disclosed pursuant to
paragraph 2. Prior to disclosure of such material to any Designated Person, pursuant to
paragraph 2, any such Designated Person shall agree to be subject to the terms of this Order;

(5) AEO Material shall include the Government’s memorandum of law filed on
November 3, 2021, and defendant Sohail Khan’s response filed on November 10, 2021. AEO
Material shall not be disclosed in any form, including but not limited to orally disclosing such
information, to defendant Sohail Khan or anyone else beyond defense counsel. If counsel for the
defendant determines that the AEO Material is material and relevant to the investigation and
defense of their client and requires counsel to share the information subject to this protective
order with their client, counsel for the defendant reserve the right, on notice to the Government,
to seek permission from the Court to do so.
IT IS SO ORDERED.
Dated: New York, New York

November _(S, 2021
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HOND RABLE JED S. RAKOFF
HON States District Judge
Southern District of New York

DAMIAN WILLIAMS
United States Attorney for the
Southern District of New York

By:

 

Sarah Lai
Assistant United States Attorney

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Valerie Gotlib, Esq.
Counsel for Defendant Sohail Khan

 

 

 

 

 

 
